                                            Case 23-17515-RAM                                      Doc 2               Filed 09/20/23                            Page 1 of 3


Fill in this information to identify the case:
Debtor name:                      AeroTech Miami Inc. d/b/a iAero Tech                                                       Check if this is an amended filing
United States Bankruptcy Court for the: Southern District of Florida
Case number (If known): 23-



Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 30 Largest
Unsecured Claims and Are Not Insiders
A list of creditors holding the 30 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
disputes. Do not include claims by any person or entity who is aninsider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 30 largest unsecured claims.
The Debtors reserve the right to modify, recharacterize, or dispute any claim reflected herein.
Name of creditor and complete mailing address, including zip code   Name, telephone number, and email address of creditor   Nature of the claim (for Indicate if claim is   Amount of unsecured claim
                                                                    contact                                                 example, trade debts,    contingent,            If the claim is fully unsecured, fill in only unsecured claim
                                                                                                                            bank loans, professional unliquidated, or       amount. If claim is partially secured, fill in total claim amount and
                                                                                                                            services, and            disputed               deduction for value of collateral or setoff to calculate unsecured
                                                                                                                            government contracts)                           claim.

                                                                                                                                                                            Total claim, if partially   Deduction for value of Unsecured claim
                                                                                                                                                                            secured                     collateral or setoff


 1    Sky Capital Partners, Inc.                                                 Joysel Perez                               Broker                    Contingent,                                                                 $5,749,390
      8333 NW 53rd Street, Ste. 104                                             786-339-6543                                                          Disputed
      Miami, FL 33166                                                    jperez@skycapitalpartners.com
      United States

 2    PricewaterhouseCoopers (PWC)                                               Matthew Stanley                            Professional                                                                                          $5,002,612
      PO Box 932011                                                               860-558-0169                              Services
      Atlanta, GA 31193-2011                                               matthew.r.stanley@pwc.com
      United States
 3    Magnum Airdynamics                                                    Sean McGinn, President                          Vendor                                                                                                $1,700,678
      13960 NW 60th Avenue                                                  305-817-9100, Ext 101
      Miami Lakes, FL 33014                                             sean@magnumairdynamics.com
      United States

 4    Arthur J. Gallagher & Co.                                                  Rachel Goerges                             Insurance                                                                                             $1,343,324
      PO Box 742205                                                               312-416-6857
      Los Angeles, CA 90074-2205                                             rachel_goerges@ajg.com
      United States

 5    OH Capital Assets                                                            Alexa Roberts                            Vendor                                                                                                   $786,568
      4500 Morris Park Drive                                                  704-283-5080, Ext 1016
      Mint Hill, NC 28227                                                       customerservice@
      United States                                                            ohcapitalassets.com

 6    Ascent Aviation Services                                                       Scott Butler                           Vendor                                                                                                   $626,740
      700 South Park Avenue                                                   Chief Commercial Officer
      Tuscon, AZ 85756                                                           +1 520-616-5002
      United States                                                           sbutler@ascentmro.com

 7    US Customs & Border Protection                                                 (317) 614-4811                         Government                Contingent                                                                     $526,626
      Attn: User Fee Team
      6650 Telecom Drive, Ste 100
      Indianapolis, IN 46278
      United States

 8    Miami-Dade Aviation Department                                                 Duane M. Riley                         Lease                                                                                                    $494,920
      PO Box 526624                                                                 (305) 876-0625
      Miami, FL 33152-6624                                                         driley@flymia.com
      United States

 9    The Boeing Company                                                     Bremgartner, Randall J                         Vendor                                                                                                   $381,779
      PO Box 277851                                                                425-336-9191
      Atlanta, GA 30384-7851                                           randall.j.bremgartner@boeing.com
      United States

 10   High Class Aero Inc                                                         Yami Beltran                              Vendor                                                                                                   $298,125
      10699 NW 122 Street                                                        786-733-3113
      Miami, FL 33178                                                        Yami@highclassaero.com
      United States




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                                                                                                                                                                            secured                     collateral or setoff


 11   SmartWings                                                                   Alena Chejnovská                         Customer                  Disputed                                                                       $279,890
      Vaclav Havel Airport Ruzyne 6th District                                     +420 725 098 521
      Prague, Czech Republic                                                      alena.chejnovska@
                                                                                    smartwings.com

 12   Aircrafters, Inc.                                                              Rob Hicks                              Vendor                                                                                                   $271,479
      259 Quigley Blvd Suite 12-14                                             302-777-5000 Ext 112
      New Castle, DE 19720                                                   rob.hicks@aircrafters.com
      United States
 13   General Mitchell Int'l Airport                                               Jennifer Rittberg                        Vendor                                                                                                   $260,529
      P.O. Box 78979                                                                414-747-3880
      Milwalkee, WI 53278-0979                                             jrittberg@mitchellairport.com
      United States

 14   IATA E&F Services                                                          305 264 7772                               Vendor                    Contingent                                                                     $260,200
      703 Waterford Way, Suite 600                                           MACSAmericas@iata.org
      Miami, FL 33126
      United States

 15   Synovus Card Services                                                       Anita Aedo, Sr.                           Vendor                                                                                                   $226,384
      PO Box 2181                                                                VP 305-669-6361
      Columbus, GA 31902                                                     AnitaAedo@synovus.com
      United States

 16   STS Line Maintenance                                                        Chad Truskowski                           Vendor                                                                                                   $222,974
      PO BOX 890927                                                                 313-402-9542
      Charlotte, NC 28289-0927                                                   Chad.Truskowski@
      United States                                                             stsaviationgroup.com

 17   USDA, APHIS, AQI                                                                 844-820-2234                         Vendor                                                                                                   $218,366
      P.O. Box 979044
      Saint Louis, MO 63197-9000
      United States

 18   Tag Aero LLC                                                                   Rhonda Farmer                          Vendor                                                                                                   $215,084
      175 BONUM RD                                                                   803-831-9390
      LAKE WYLIE, SC 29710                                                           www.tag.aero
      United States

 19   Andes Lineas Aereas SA                                                       54 11 5237 28 0                          Vendor                                                                                                   $200,000
      Av. Cordoba 673, Piso 4 B                                             clientes@andesonline.com
      Buenos Aires, Argentina

 20   EZ Business Card Master Account                                             Vince Burke+G26                           Vendor                    Contingent                                                                     $194,490
      Arizona Bank and Trust                                                    vburke@arizbank.com
      2036 E Camelback Rd,                                                          602.381.2090
      Phoenix, AZ
      United States


 21   North State Aviation Holdings, LLC                                               336-837-1350                         Vendor                                                                                                   $192,174
      4001 N. Liberty Street
      Winston Salem, NC 27105
      United States


 22   Wings Air Support LLC                                                       Will Perez                                Vendor                                                                                                   $188,940
      6307 Oak Forest Ct.                                                       336-264-2487
      Summerfield, NC 27358                                               wperez@wingsairsupport.com
      United States

 23   Ballard Partners                                                          Awanda Green                                Professional              Disputed                                                                       $186,000
      201 E Park Ave 5th Floor                                                  850-577-0444                                Services
      Tallahassee, FL 32301                                               amanda@ballardpartners.com
      United States




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                                                                                                                            government contracts)                           claim.

                                                                                                                                                                            Total claim, if partially   Deduction for value of Unsecured claim
                                                                                                                                                                            secured                     collateral or setoff


 24   Uniserv Aviation, Inc.                                                             Saul                               Vendor                                                                                                   $176,990
      8522 NW 66th Street                                                           305-592-6225
      MIAMI, FL 33166                                                          sauluniserv@gmail.com
      United States

 25   Airline Economics Inc.                                                        William Jacobs                          Vendor                                                                                                   $175,660
      5619 Overbrook Ln.                                                           Suzan Desotelle
      Houston, TX 77056                                                             281-799-4120
                                                                            airlineeconomics@msn.com
                                                                                     sdesotelle@
                                                                               aviationadvantage.com
 26   NAVBLUE Inc.                                                                Lisa Inglis                               Vendor                                                                                                   $165,056
      295 Hagey Blvd, Suite 200                                                 519-747-1170
      Waterloo, ON N2L 6R5                                             accountsreceivable@navblue.aero
      Canada

 27   North State Aviation, LLC                                                       Janet Bates                           Vendor                                                                                                   $156,661
      4001 N. Liberty Street                                                         336-837-1436
      Winston Salem, NC 27105                                                    jbates@nsamro.com
      United States

 28   Pan Am Int'l Flight Academy                                             Andreina D Amario                             Vendor                                                                                                   $155,245
      PO Box 660920                                                              305-874-6572
      Miami, FL 33266                                                    adamario@panamacademy.com
      United States

 29   Elite Team Logistics, LLC                                                       Brian Henkle                          Vendor                                                                                                   $154,350
      11125 Park Blvd Suite 104-209                                                  727-612-6762
      Seminole, FL 33772                                                             brian.henkle@
      United States                                                             eliteteamlogistics.com

 30   Airport Terminal Services, Inc.                                               314-739-1900                            Vendor                                                                                                   $143,042
      PO Box 934054                                                          cryterskiI@ATSSTL.COM
      Atlanta, GA 31193
      United States




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